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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF ILLINOIS


 EDDIE RAY, JR.,                              )
                                              )   Case No. 3:22-cv-02304-SPM
                      Plaintiff,              )   CJRA Track: D
                                              )   Mandatory Mediation: No
 vs.                                          )   Presumptive Trial Month:
                                              )   September 2024
                                              )
 SCA OF MO LLC,                               )   Judge: Stephen P. McGlynn
                                              )
                      Defendant.              )


                JOINT REPORT OF PARTIES AND
         PROPOSED SCHEDULING AND DISCOVERY ORDER

       Pursuant to Federal Rule of Civil Procedure 26(f) and SDIL-LR 16.2(a), an initial
conference of the parties was held on December 12, 2022 with attorneys Philip Oliphant
for Plaintiff and Janet K. Meub for Defendant participating.

SCHEDULING AND DISCOVERY PLANS WERE DISCUSSED AND AGREED TO
AS FOLLOWS:

   1. Initial interrogatories and requests to produce, pursuant to Federal Rules of Civil
      Procedure 33 and 34 shall be served on opposing parties by February 15, 2023.

   2. Plaintiff’s deposition shall be taken by April 23, 2023.

   3. Defendant’s deposition shall be taken by July 31, 2023.

   4. Motions to amend the pleadings, including the commencement of a third-party
      action, shall be filed by March 10, 2023 (no later than 90 days following the
      Scheduling and Discovery conference).

   5. Expert witnesses shall be disclosed, along with a written report prepared and
      signed by the witness pursuant to Federal Rule of Civil Procedure 26(a)(2), as
      follows:
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            Plaintiff’s expert(s): August 31, 2023.
            Defendant’s expert(s): October 30, 2023.
            Third Party expert(s): October 30, 2023.


  6. Depositions of expert witnesses must be taken by:

            Plaintiff’s expert(s): November 30, 2023.
            Defendant’s expert(s): December 31, 2023.
            Third Party expert(s): December 31, 2023.

  7. The parties CERTIFY that they have discussed, in particular, the proportionality
     of discovery, the burden and expense associated with discovery, and the discovery
     of electronically stored information (ESI). The parties anticipate a need for an ESI
     protocol. The parties shall submit to the Court any joint proposed ESI protocol no
     later than February 28, 2023. (The protocol shall contain mechanisms for
     addressing necessary topics concerning ESI to include sources of information,
     search terms, format of production and preservation of ESI by both Plaintiff(s) and
     Defendant(s)).

  8. Discovery shall be completed by April 24, 2024 (no later than 130 days before the
     first day of the month of the presumptive trial month or the first day of the month
     of the trial setting). Any written interrogatories or request for production served
     after the date of the Scheduling and Discovery Order shall be served by a date that
     allows the served parties the full 30 days as provided by the Federal Rules of Civil
     Procedure in which to answer or produce by the discovery cut-off date.

  9. All dispositive motions shall be filed by May 24, 2024 (no later than 100 days
     before the first day of the month of the presumptive trial month or the first day of
     the month of the trial setting). Dispositive motions filed after this date will not be
     considered by the Court.

  10. The parties are reminded that, prior to filing any motions concerning discovery,
      they must first meet and confer relating to any discovery disputes and then contact
      the Court to arrange a telephone discovery dispute conference if they are unable
      to resolve their dispute. If the dispute cannot be resolved in the first telephonic
      conference, the Court will establish, with the input of the parties, the mechanism
      for submitting written positions to the Court on an expedited basis.


     DATED: December 5, 2022
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                                        Philip E. Oliphant
                                        ___________________________________________________________________________

                                        Attorney(s) for Plaintiff(s)


                                        Janet K. Meub
                                        Sarah Mangelsdorf
                                        ___________________________________________________________________________

                                        Attorney(s) for Defendant(s)
